 Case 1:17-cv-00613-JTN-ESC ECF No. 56 filed 10/01/18 PageID.300 Page 1 of 1


                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION


 DEREK ANTOL, et al.,

            Plaintiffs,
                                                                           Case No. 1:17-cv-613
 v.
                                                                           HON. JANET T. NEFF
 ADAM DENT, et al.,

            Defendants.
 ____________________________/


                                                 ORDER

        Pending before the Court is Plaintiffs and Defendant Casey Trucks’ Stipulated Proposed

Order to extend deadline (ECF No. 55), seeking to extend the deadline for Defendant Trucks to

file his motion for summary judgment. The Court, having reviewed the filing, will grant the

request to the extent that Defendant Trucks will be permitted to serve his motion for summary

judgment and file a proof of service no later than October 2, 2018.1 Therefore,

        IT IS HEREBY ORDERED that the Stipulated Proposed Order to extend deadline (ECF

No. 55) is GRANTED to the extent that Defendant Trucks is permitted to serve his motion for

summary judgment and file a proof of service no later than October 2, 2018.



Dated: October 1, 2018                                              /s/ Janet T. Neff
                                                                   JANET T. NEFF
                                                                   United States District Judge




        1
         Per the August 10, 2018 order (ECF No. 47) and the Court’s Information and Guidelines for Civil
Practice, the parties shall electronically file their respective motion papers as soon as the motion is fully
briefed.
